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                                                                            U.S. DISTRICT COURT
                                                                                N.D. OF ALABAMA


                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                            MIDDLE DVISION

JOSHUA OTWELL
and DANNA LEE OTWELL,
                                                  Case No. 4:19-cv-01120-ACA
      Plaintiffs,

vs.

HOME POINT FINANCIAL CORP.,

      Defendant.


                        BRIEF IN SUPPORT OF
            DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

                            Undisputed Material Facts

       1.      The Plaintiffs, Joshua and Danna Lee Otwell (the “Otwells”),

purchased the home and land located at 525 Fern Creek Drive in Springville,

Alabama (the “Property) on or about January 28, 2015, with a loan of $235,554.00

from Southpoint Bank (the “Loan”). Exhibit 1 - Otwell Deed, doc. 26-1; Exhibit 2

- Otwell Note, doc. 26-2.

       2.      The Otwells secured Loan to the Property with a mortgage to

Southpoint Bank (the “Mortgage”). Exhibit 3 - Otwell Mortgage, doc. 26-3.

       3.      On August 11, 2016, the Loan and the Mortgage were assigned to

Stonegate Mortgage Corporation (“Stonegate”). Exhibit 4 - Assignment of

Mortgage, doc. 26-4; Exhibit 5 - Allonge to Note, doc. 26-5.

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      4.    The Otwells defaulted on their Loan by failing to make all the

scheduled payments, so Stonegate foreclosed and purchased the Property at auction

on or about January 17, 2017. Exhibit 6 – Home Point Affidavit, doc. 26-6 ¶5;

Exhibit 7 – Foreclosure Deed, doc. 26-7; Am. Compl. doc. 7, ¶¶16, 53-54.

      5.    In May 2017, Stonegate and all of its assets, including title to the

Property, were acquired by the Defendant, Home Point Financial Corp. (“Home

Point”). Exhibit 6 – Home Point Affidavit, doc. 26-6 ¶6; Exhibit 8 – Stonegate

Acquisition Announcement, doc. 26-8.

      6.    On June 30, 2017, Stonegate filed suit to eject the Otwells from the

Property. Am. Compl. doc. 7 ¶17; Stonegate v. Otwell, 59-CV-2017-900070.

      7.    The litigation remained active for more than a year, until August

2018, when Home Point offered to resolve the dispute by giving the Otwells a

three-month Trial Payment Plan in order to qualify them for an FHA Partial Claim

– a repayment plan that allows defaulting borrowers to reinstate their loan by

deferring the past due balance owed to the end of the loan, interest free. Am.

Compl. doc. 7 ¶¶21-25; Exhibit 6 – Home Point Affidavit, doc. 26-6 ¶8; Exhibit 9

– Trial Payment Plan, doc. 26-9.

      8.    The Otwells accepted the Trial Payment Plan. Home Point set aside

the foreclosure, reinstated the Loan and Mortgage, and dismissed the ejectment




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action. Am. Compl. doc. 7 ¶¶21-25, 35; Exhibit 6 – Home Point Affidavit, doc.

26-6 ¶9; Exhibit 9 – Trial Payment Plan, doc. 26-9.

      9.    In October, November, and December 2018, the Otwells made the

payments required by the Trial Payment Plan. Am. Compl. doc. 7 ¶¶35-36; Exhibit

6 – Home Point Affidavit, doc. 26-6 ¶9; Exhibit 9 – Trial Payment Plan, doc. 26-9.

      10.   On December 14, 2018, Home Point provided the Otwells a Loan

Modification Package, consisting of a promissory note, subordinate mortgage, and

other documents designed to secure, and defer the Otwells’ past due balance to the

end of their loan, interest free. Exhibit 6 – Home Point Affidavit, doc. 26-6 ¶9;

Exhibit 10 – Loan Modification; Exhibit 13 – Home Point Process Notes, doc. 27-

1; Exhibit 14 – Loan Modification Delivery Confirmation, doc. 27-2.

      11.   The Otwells did not sign or return any part of the Loan Modification

Package to Home Point. Exhibit 6 – Home Point Affidavit, doc. 26-6 ¶10; Exhibit

13 – Home Point Process Notes, doc. 27-1.

      12.   During the period preceding and during the Trial Payment Plan the

Otwells’ account remained severely in default. Exhibit 6 – Home Point Affidavit,

doc. 26-6 ¶10; Exhibit 11 –Account Statements, doc. 27-11, pgs. 1, 5, 8, 10, 14.

      13.   Because the Loan Modification was not signed and returned, and

because the past-due balance was not otherwise cured, beginning in February 2019,

Home Point resumed standard default noticing to the Otwells, in due course,


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providing the required foreclosure notices. Exhibit 6 – Home Point Affidavit, doc.

26-6 ¶¶10-11; Exhibit 12 – Foreclosure Notices, doc. 26-12.

      14.   The Otwells filed this case in the Circuit Court of St. Clair County,

Alabama on June 12, 2019, the day before the scheduled foreclosure sale.

Complaint, doc. 1-1.

      15.   The case was removed to this Court on July 17, 2019. Notice of

Removal, doc. 1.



                               Standard of Review

      “The court shall grant summary judgment if the movant shows that there is

no genuine dispute as to any material fact and the movant is entitled to judgment as

a matter of law.” Fed. R. Civ. P. 56(a). A movant can meet this burden by showing

an absence of evidence necessary to support the nonmoving party’s claims, on

which the nonmoving party bears the burden of proof. Celotex Corp. v. Catrett,

477 U.S. 317, 323 (1986). If an absence of necessary evidence is shown, the

burden shifts to the nonmoving party to go beyond the pleadings, to “come forward

with specific facts,” and present actual evidence sufficient to show that there is a

genuine issue upon which a reasonable jury could return a verdict for the

nonmoving party. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).




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                    Discussion of Relevant Legal Authorities

      This case was hastily filed in the St. Clair County Circuit Court on June 12,

2019, one day ahead of Home Point’s scheduled foreclosure sale. Complaint, doc.

1-1; Exhibit 12 - Foreclosure Notices, doc. 26-12, pg. 5. In its original form the

case did not even reference the correct property address, and its material

allegations were notably copied and pasted, verbatim, from another case filed by

the same plaintiffs’ counsel. Complaint, doc. 1-1, ¶6; see generally Motion to

Dismiss, doc. 3, pgs. 1-2. These facts notwithstanding, the filing of this case

succeeded in its one, true purpose. Home Point’s foreclosure sale was cancelled

and has not yet been rescheduled. This motion seeks to dispose of the specter of a

lawsuit that remains.

      The Otwells’ complaint originally had eight separate counts. Complaint,

doc. 1-1. After removal and a motion to dismiss, the averments were retooled, and

the claims trimmed six. Am. Compl. doc. 7. The gravamen of the Otwells’ retooled

complaint is the averment that Home Point failed to offer them a permanent loan

modification after their successful completion of the Trial Payment Plan. Am.

Compl. doc. 7, ¶¶ 37, 112, 120(g), 120(i), 128(e), 188-189, 226, and 236-239. In

counts I and II the Otwells assert that this omission is a direct violation of the Real

Estate Settlement Procedures Act (RESPA) and the Fair Debt Collection Practices

Act (FDCPA). In Counts II, III, V, and VI the Otwells assert that Home Point’s


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failure to offer them a loan modification poisoned all subsequent efforts to collect

the debt. Because each of these claims is critically tied to the alleged failure by

Home Point to offer a loan modification, the Otwells have the burden in each claim

to prove this omission. The Otwells cannot carry this burden.

      Home Point is entitled summary judgment on all remaining claims because it

has presented irrefutable evidence confirming that it did, in fact, offer the Otwells a

loan modification on December 14, 2019, after what it agrees was a successful

completion of the payments agreed in the Trial Payment Plan. Exhibit 6 – Home

Point Affidavit, doc. 26-6 ¶9; Exhibit 10 – Loan Modification; Exhibit 13 – Home

Point Process Notes, doc. 27-1; Exhibit 14 – Loan Modification Delivery

Confirmation, doc. 27-2. It was the Otwells who failed to perform, omitting to sign

and return the loan modification. The evidence completely refutes the most

fundamental allegation of each of the Otwells’ remaining claims, so there can exist

no genuine issue of material fact.

      This    loan   modification    issue   notwithstanding,    the   Otwells’   also

misunderstand and misstate many of the idiosyncratic nuances of the federal and

state law claims attempted. In the interest of completely disposing the Otwells’

remaining claims, consider the following:




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      Count 1 - RESPA.

      As it is invoked here, the Real Estate Settlement Procedures Act, 12 U.S.C.

§2601 et seq. (RESPA), provides a civil cause of action for violations of the loss

mitigation requirements set out in 12 C.F.R. §1024.41 (also known as “Regulation

X”). In pertinent part, RESPA and Regulation X require that, after receipt of a

“complete loss mitigation application,” a lender must evaluate the borrower for all

loss mitigation options available and give notice of which loss mitigation options,

if any, can be offered. 12 C.F.R. §1024.41(b) and (c).

      The Otwells’ fundamental assertion here is that RESPA mandates that Home

Point provide them a loan modification. Am. Compl., doc. 7 ¶¶188-189. This is an

overt misconception of RESPA. Home Point absolutely did offer the Otwells a

loan modification, but this is almost beside the point, because “[n]othing in

§1024.41 imposes a duty on a servicer to provide any borrower with any specific

loss mitigation option.” 12 C.F.R. §1024.41(a). In addition to being dead wrong

about what happened, the Otwells are also wrong about what is required.

      Other provisions of RESPA invoked by the Otwells here forbid Home Point

from pursuing a foreclosure “if a borrower is performing” pursuant to the terms of

loss mitigation plan. 12 C.F.R. §1024.41(c)(2)(iii) and (f). While it is undisputed

that the Otwells made their three payments under the Trial Payment Plan, it is

likewise undisputable that they still cannot prove their performance under the Trial


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Payment Plan, due to the evidence conclusively demonstrating that they failed to

sign and return the loan modification documents Home Point provided. See Exhibit

6 – Home Point Affidavit, doc. 26-6 ¶9; Exhibit 10 – Loan Modification; Exhibit

13 – Home Point Process Notes, doc. 27-1; Exhibit 14 – Loan Modification

Delivery Confirmation, doc. 27-2.

      Damages are another “essential element” of RESPA claim. Renfroe v.

Nationstar Mortg., LLC, 822 F. 3d 1241, 1246 (11th Cir. 2016). Only two types are

available: (1) actual damages and (2) statutory damages “in the case of a pattern or

practice of noncompliance with the requirements of this section, in an amount not

to exceed $2,000.” Lage v. Ocwen Loan Servicing LLC, 839 F.3d 1003, 1011 (11th

Cir. 2016)(quoting 12 U.S.C. § 2605(f)(1)). Actual damages must have a “causal

link” to a RESPA violation. Renfroe v. Nationstar Mortg., LLC, 822 F. 3d 1241,

1246 (11th Cir. 2016); Baez v. Specialized Loan Servicing, LLC, 709 F. App'x 979,

982 (11th Cir. 2017). Statutory damages are meant to punish institutionalized

practices of noncompliance spanning multiple victims. See e.g. McLean v. GMAC

Mortg. Corp., 595 F. Supp. 2d 1360, 1364–65 (S.D. Fla. 2009), aff'd, 398 F. App'x

467 (11th Cir. 2010)(disallowing statutory damages under RESPA where

“plaintiffs [ ] presented no evidence of a standard or institutionalized practice of

noncompliance by [the servicer]”).




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      The Otwells’ generally aver that they have suffered actual damages [Am.

Compl. Doc. 7, ¶195], but they do not describe any specific incident or impact. No

actual damages have been incurred, and certainly none with a “causal connection”

to any RESPA violation, because RESPA has not been violated. The Otwells’

naked allegations cannot survive. RESPA compliance aside, the Otwells possess

no receipts, checks, expert medical opinions, diagnoses, documents, pictures, or

other substantial evidence necessary to support the conclusion that they incurred

any actual damages with a causal link to any RESPA violation.

      In their pleadings the Otwells use the phrase “pattern or practice,” but the

alleged “pattern” relates only to their account. This is not what statutory RESPA

damages are intended to cover. The Otwells do not allege and cannot prove any

conduct by Home Point relating to any other borrowers, so they do not possess the

evidence necessary to support the award of statutory damages.



      Count 2 - FDCPA.

      The Fair Debt Collection Practices Act, 15 U.S.C. §1692 et seq. (FDCPA),

provides a civil cause of action against “debt collectors,” who engage in an

expressly prohibited act or fail to perform one of the enumerated requirements.

Buckentin v. SunTrust Mortg. Corp., 928 F. Supp. 2d 1273, 1294 (N.D. Ala. 2013).

The FDCPA only affords two types of damages: (i) “actual damages,” again with a


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causal link to the alleged violation, and (ii) statutory damages not to exceed

$1,000.00. 15 U.S.C. §1692k(a).

      Assessment of the Otwells’ FDCPA claim adds nothing new or different to

the calculus of the case, recasting the same averment about Home Point’s alleged

failure to give a loan modification as a statutory infraction. Based upon this

averment the Otwells claim that all of Home Point’s subsequent collection efforts

false and deceptive. The Otwells’ cannot prove that the FDCPA has been violated,

so they cannot succeed. Additionally, the Otwells again do not have any proof

necessary to sustain an award of actual or statutory damages.



      Count 3 - Negligent or Wanton Supervision.

      “[I]mplicit in the tort of negligent hiring, retention, training and supervision

is the concept that, as a consequence of the employee's incompetence, the

employee committed some sort of act, wrongdoing or tort that caused the plaintiff's

injury.” Jones Exp., Inc. v. Jackson, 86 So. 3d 298, 305 (Ala. 2010); see also

Stevenson v. Precision Standard, Inc., 762 So. 2d 820, 825 (Ala.1999) (affirming

summary judgment on a claim of employer negligence and wantonness in

supervision and training where there was no “independent proof” of an underlying

tort by the employee). The Otwells only tort claims in this case are invasion of

privacy and fraud, stated in Counts V and VI respectively. Because these


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underlying tort claims are subject to summary judgement – as discussed herein

below – the Otwells claim for Negligent or Wanton Supervision fails as a matter of

law.



       Count V - Invasion of Privacy.

       An invasion of privacy can consist of any one of four distinct wrongs: 1) the

intrusion upon the plaintiff's physical solitude or seclusion; 2) publicity which

violates the ordinary decencies; 3) putting the plaintiff in a false, but not

necessarily defamatory, position in the public eye; and 4) the appropriation of

some element of the plaintiff's personality for a commercial use. Norris v. Moskin

Stores, Inc., 272 Ala. 174, 132 So.2d 321 (1961). Here the Otwells assert that

Home Point’s actions subsequent to it alleged failure to offer a loan modification

constitute an intrusion into physical solitude. Am. Compl. doc. 7 ¶225; Resp. to

Mot. to Dismiss, doc. 17, pgs. 19-20. This claim is severely misguided.

       A wrongful-intrusion type invasion of privacy occurs when one

“intentionally intrudes, physically or otherwise, upon the solitude or seclusion of

another or his private affairs or concerns, is subject to liability to the other for

invasion of his privacy, if the intrusion would be highly offensive to a reasonable

person.” Johnson v. Fuller, 706 So. 2d 700, 702 (Ala. 1997)(quoting Restatement

(Second) of Torts § 652B (1977)). In Hope v. BSI Financial, Inc., 2012 WL


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5379177 (N.D. Ala. Oct. 26, 2012), this Court adopted the Restatement (Second)

of Torts § 652B (1977), which provides that there is no liability for ordinary debt

collection measures, such as “knocking at the plaintiff's door, or calling him to the

telephone on one occasion or even two or three, to demand payment of a debt.” Id.

at 5. This consistent with prior Alabama state court decisions recognizing the

basic rights of creditors to “take reasonable action to pursue a debtor an collect a

debt.” Jacksonville State Bank v. Barnwell, 481 So. 2d 863, 865 (Ala. 1985); see

also Norris v. Moskin Stores, Inc., 132 So. 2d 321, 323 (Ala. 1961) (Holding that

not every effort by a creditor to collect a debt rises to the level of a cause of action

for the debtor. “The mere effort of a creditor... to collect a debt cannot without

more be considered a wrongful and actionable intrusion. A creditor has and must

have the right to take reasonable action to pursue his debtor and collect his debt.”

      The Restatement (Second), cited in Hope, notes that collection measures can

amount to an invasion of privacy when they are “are repeated with such persistence

and frequency as to amount to a course of hounding the plaintiff.” Restatement

(Second) of Torts §652B(d) (1977). The Otwells’ do not aver that they were

hounded by Home Point. The unique feature of this case is the attempt to elevate

ordinary collection efforts into statutory violations and torts by attributing the fact

that they came after the allegedly offensive failure to offer a loan modification. No

efforts of uniquely offensive quantity, quality, or duration are alleged. Thus, even


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accepting the Otwells’ averments as true, the allegations of the Amended

Complaint do not invoke persistent conduct or a “course of hounding.” The routine

reasonableness of Home Point’s so-called “collection efforts” is obvious from their

face. Most of them are already in the record. Exhibit 11 –Account Statements, doc.

27-11; Exhibit 12 – Foreclosure Notices, doc. 26-12. These are ordinary and

permitted communications. They cannot be reasonably quantified as offensive,

hounding, or an over the top invasion of privacy. A dispute between the parties as

to the underlying debt does not sway the analysis, or for example, elevate debt

collection activities appropriate in form and timing into an invasion of privacy.

Alabama courts have provided lots of analysis as to what sorts of collection

activity amounts to “hounding” or an invasion of privacy, and the offending

standard is far from the routine collection activity alleged by the Otwells here. See

e.g. Jacksonville State Bank v. Barnwell, 481 So.2d 863, 865-66 (Ala.1985)

(Where the creditor telephoned the debtor's home and place of employment

twenty-eight to thirty-five times and went to the debtor's place of employment to

call him a “deadbeat” and a “son of a bitch” in front of his colleagues); see also

Black v. Aegis Consumer Funding Group, Inc., 2001 WL 228062, at *4–7 (S.D.

Ala. Feb. 8, 2001) (Citing a deliberate “systematic campaign of harassment” based

on approximately twenty phone calls within a period of about one month, late at

night and early in the morning, at home, at work, and to Plaintiff's parents).


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Equally as instructive from the other direction are cases like Windsor v. General

Motors Acceptance Corp., 323 So. 2d 350, 351-52 (1975) and Sparks v. Phillips &

Cohen Assocs., Ltd., 641 F. Supp. 2d 1234, 1252–53 (S.D. Ala. 2008), where even

repeated, combative communications were deemed insufficient to sustain a claim

for invasion of privacy. Nothing even close to offending conduct is even alleged.

      As the Eleventh Circuit has explained, “a plaintiff in Alabama must show

that the defendant's conduct was so outrageous that it caused the plaintiff mental

suffering, shame, or humiliation (for invasion of privacy)....” Baldwin v. Blue

Cross/Blue Shield of Alabama, 480 F.3d 1287, 1308 (11th Cir. 2007). No

reasonable view of the evidence would sustain this burden of proof.



      Count VI – Fraud or Fraudulent Suppression.

      Under Alabama law “[t]he elements of fraud are (1) a misrepresentation of a

material fact, (2) made willfully to deceive, recklessly, without knowledge, or

mistakenly, (3) that was reasonably relied on by the plaintiff under the

circumstances, and (4) that caused damage as a proximate consequence.” Allstate

Ins. Co. v. Eskridge, 823 So.2d 1254, 1258 (Ala. 2001). The Otwells cannot

possibly succeed in such claim, first because the alleged misrepresentation is that

Home Point never provided a loan modification, and this has been proven false.

Second, the Otwells’ actual averment not fraud, or fraudulent suppression, but


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promissory fraud. Specifically, the Otwells claim that Home Point “lied” and “hid

the truth” at the time of the Trial Payment Plan, convincing the Otwells to sign

while “at the time … Home Point had no intention of keeping its representation

and knew the information suppressed from Plaintiffs would be critical” Am.

Compl. doc. 7 ¶¶237-243. If true, this would be promissory fraud, and “to support

a claim of promissory fraud, the plaintiff must show that at the time of the alleged

misrepresentation (that is, the promise), the defendant intended not to do the act or

acts promised, but intended to deceive the plaintiff.” Goodyear Tire & Rubber Co.

v. Washington, 719 So.2d 774, 776 (Ala.1998))). The burden of proof for

promissory fraud requires proof of intent, and thus is much heavier than the one for

simple fraud. Intercorp v. Pennzoil, 877 F.2d 1524, 1534 (11th Cir. 1989). As

discussed above, the Otwells cannot carry their burden to prove that there was a

misrepresentation or even an accident. They certainly have no evidence of

fraudulent intent.

      Another essential element of fraud, suppression, or promissory fraud is

“reasonable reliance” or inducement. Pinyan v. Community Bank, 644 So. 2d 919,

923 (Ala. 1994); Padgett v. Hughes, 535 So. 2d 140, 142 (Ala. 1988); Dodd v.

Nelda Stephenson Chevrolet, Inc., 626 So. 2d 1288, 1293 -94 (Ala. 1993). The

Otwells do not have - and could not possibly have – any evidence to support

reasonable reliance on the Trial Payment Plan as a guarantee of foreclosure


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avoidance, because that not what the Trial Payment Plan says, and that is not how

Trial Payment Plans work. A Trial Payment Plan is no guarantee of any particular

mitigation option, and the Trial Payment Plan at issue in this case states expressly

that the Otwells “may be eligible for an FHA Partial Claim,” which is a repayment

plan designed to help borrower who cannot otherwise cure their default or qualify

for reinstatement to defer their default balance to the end of their loan. Exhibit 6 –

Home Point Affidavit, doc. 26-6 ¶8; Exhibit 10 – Trial Payment Plan, pg. 1. These

circumstances prevent any possible demonstration of reasonable reliance on the

Trial Payment Plan as guarantee of outcome, so the Otwells cannot succeed in

proving that the Trial Payment Plan was a fraud, suppression, or promissory fraud.

      To the extent actually plead, a suppression claim requires that Home Point

have some duty to make the disclosure at issue. No such duty exists here. Alabama

law provides that the necessary duty can arise from a “confidential relations[hip]”

between the parties, or from the “particular circumstances of the case” (Ala. Code

§ 6–5–102); however, Alabama law considers the lender-borrower relationship to

be an arms-length relationship, and does not place a duty of disclosure on the

lender. Bank of Red Bay v. King, 482 So.2d 274, 285 (Ala.1985).




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                                    Conclusion

      This case was only ever meant to impede the foreclosure sale set in June

2019, so it should come as no surprise that it cannot withstand a review on the

merits. The Otwells fundamental claim that they were denied a modification of

their loan after successfully completing a Trial Payment Plan has been

unequivocally disproven. The Otwells were presented with the loan modification.

They dropped the ball. The Otwells attempts to manipulate the circumstances

resulting from their own default and their own failure to sign and return the loan

modification into various statutory and state law tort infractions must fail as a

matter of law.

      For all these reasons, Home Point moves the Court to enter summary

judgment in its favor on all the Otwells’ remaining claims.

      Respectfully submitted on October 14, 2020.



                                             _s/ Timothy P. Pittman __________
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                         CERTIFICATE OF SERVICE

      I, Timothy P. Pittman, certify that on October 14, 2020, a true and correct

copy of the foregoing was served upon all parties as follows:

      John G. Watts                                via CM/ECF email
      M. Stan Herring
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      john@wattsherring.com
      stan@wattsherring.com

                                             _s/ Timothy P. Pittman __________
                                             Timothy P. Pittman (ASB-0075-I51P)




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